            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION

                      CRIMINAL CASE NO. 3:08cr259-5


UNITED STATES OF AMERICA, )
                            )
                            )
             vs.            )                    ORDER
                            )
                            )
LATOYA MOORE.               )
                          )



        THIS MATTER is before the Court on the Motion of Petitioner for

Modification or Reduction of Sentence based upon an Intervening Post-

Sentencing Change in the United States Sentencing Guidelines pertaining to

Specific Offender Characteristics (Amendment 2) 5H1.3 [Doc. 292]; Motion to

Proceed Forma Pauperis [Doc. 293]; and Motion to Proceed Pro Se [Doc.

294].

        On November 4, 2009, the Defendant was sentenced to a total term of

65 months imprisonment in connection with her convictions for conspiracy to

commit wire fraud and aggravated identity theft, in violation of 18 U.S.C.

§§1349 & 1028(A). [Doc. 192; Doc. 278]. She did not file a direct appeal.

        In the motion to reduce, the Defendant claims that the Fair Sentencing




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Act of 2010 (FSA), Pub. L. 111-200, warrants a reduction in her sentence

pursuant to 18 U.S.C. §3582(c)(2). That statute provides:

      [I]n the case of a defendant who has been sentenced to a term of
      imprisonment based on a sentencing range that has subsequently
      been lowered by the Sentencing Commission ..., upon motion of
      the defendant ... the court may reduce the term of imprisonment[.]

18 U.S.C. §3582(c)(2).

The Defendant cites amendments to U.S.S.G. §§5H1.1, 5H1.3 and 5H1.4 and

claims that she should receive a sentence reduction based on her mental

health and drug abuse. The amendments to these guidelines are contained

with Appendix C, amendment 739 to the sentencing guidelines. U.S.S.G.

§§5H1.1, 5H1.3 and 5H1.4.

      Section B1.10 of the Guidelines provides for a sentence reduction for a

defendant whose guideline range is subsequently lowered as a result of an

amendment to the guidelines “listed in subsection (c).” U.S.S.G. §1B1.10(a).

Thus, an amendment to the guidelines may not be applied retroactively unless

it is listed in U.S.S.G. §1B1.10(c). United States v. McHan, 386 F.3d 620, 622

(4 th Cir. 2004); United States v. Millhouse, 2010 WL 4338383 (E.D.N.C. 2010).

Amendment 739 is not listed in subsection (c) and therefore, the Defendant

is not entitled to a sentence reduction. Id. (“As of the date of this order, there

is no amendment listed in U.S.S.G. §1B1.10(c) that lowers a guideline range

on account of the FSA.”). The Defendant’s motion will therefore be denied.

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The denial of this motion renders moot the other two motions.

     IT IS, THEREFORE, ORDERED that the Motion of Petitioner for

Modification or Reduction of Sentence based upon an Intervening Post-

Sentencing Change in the United States Sentencing Guidelines pertaining to

Specific Offender Characteristics (Amendment 2) 5H1.3 [Doc. 292] is hereby

DENIED.

     IT IS FURTHER ORDERED that the Defendant’s Motion to Proceed

Forma Pauperis [Doc. 293] and Motion to Proceed Pro Se [Doc. 294] are

hereby DENIED as moot.

                                     Signed: November 11, 2010




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